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                              UNITED STATES DISTRICT COURT
                               MIDDLE DISTRICT OF FLORIDA
                                   FT. MYERS DIVISION
  UNITED STATES OF AMERICA,

                                Plaintiff

  -vs-                                                            Case No. 2:07-cr-20-FtM-29DNF

  LYNETT GADSDEN and KEVIN
  SINGLETON1,
                          Defendants.
  _________________________________________

                             REPORT AND RECOMMENDATION

  TO THE UNITED STATES DISTRICT COURT

         This cause came on for consideration on the following motion filed herein:

             MOTION:        LYNETT GADSDEN’S MOTION TO SUPPRESS
                            IDENTIFICATION (Doc. No. 33) AND KEVIN
                            SINGLETON’S ADOPTED MOTION TO SUPPRESS

             FILED:      March 14, 2007
             _____________________________________________________________

             THEREON it is RECOMMENDED that the motions be DENIED.

         The Defendants, Lynett Gadsden and Kevin Singleton are requesting that the identification

  procedure conducted in this case and any resulting in-court identification be suppressed. The

  Defendants assert that they were identified by the use of a single photograph which was shown to the

  undercover officer, Margarita Nelson. The Government filed its Response (Doc. 35) on March 19,


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           Kevin Singleton filed a Motion to Adopt (Doc. 36) on March 20, 2007, which was
  granted by an Endorsed Order (Doc. 38) on March 20, 2007. Upon agreement of the parties, the
  Court permitted counsel for Mr. Singleton to raise the issue of suppressing the identification of Mr.
  Singleton during the hearing even though he had not filed a separate Motion to Suppress as to Mr.
  Singleton.
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  2007. An evidentiary hearing was held on March 28, 2007. The Defendants are charged in Count Two

  of a Superceding Indictment (Doc. 16) with conspiring with each other and others to possess with

  intent to distribute a quantity or mixture of a detectable amount of cocaine base, crack cocaine in

  violation of 21 U.S.C. §§841(a)(1) and 841(b)(1)(C) and 846.



         I. Testimony and Evidence

         The Government presented the testimony of Margarita Nelson with the Vice and Narcotics

  Bureau of the Collier County Sheriff’s Office. (Tr2. p. 4). On December 19, 2006, Investigator Nelson

  met with a confidential informant who informed her that Moody Gadsden (a co-defendant in this case)

  was selling crack cocaine. (Tr. p. 5, 12). Investigator Nelson decided to purchase crack cocaine from

  Moody Gadsden. (Tr. p. 5). Moody Gadsden was well-known to Investigator Nelson. (Tr. p. 5).

  Investigator Nelson and the confidential informant went to Moody Gadsden’s residence. (Tr. p. 5).

  Lynett Gadsden answered the door. (Tr. p. 5-6). The confidential informant told Lynett Gadsden that

  they wanted to buy $100.00 of crack cocaine. (Tr. p. 6, 15). Investigator Nelson and the confidential

  informant went into the house and Moody Gadsden was there with two other Black men. (Tr. p. 6,

  16, 27). Investigator Nelson noticed that one of the other men in the room who was later identified

  as Kevin Singleton had a gun in his waistband which was clearly visible. (Tr. p. 7). Moody Gadsden

  told Investigator Nelson that his brother was put in jail by a cop named “Margarita Nelson” and asked

  if she was the same person. (Tr. p. 6). She denied being the same person. (Tr. p. 7). Moody Gadsden

  wanted Investigator Nelson to give her cell phone to Lynett Gadsden, but Investigator Nelson objected




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             “Tr.” refers to the transcript (Doc. 42) of the evidentiary hearing held on March 28, 2007.

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  and agreed to put the cell phone outside. (Tr. p. 7). Moody Gadsden motioned Lynett to retrieve the

  cell phone and Investigator Nelson then gave her cell phone to the confidential informant. (Tr. p. 7).

           Investigator Nelson negotiated the drug deal. (Tr. p. 16). Lynett told Investigator Nelson and

  the confidential informant to sit at the table. (Tr. p. 19). Lynett told her that everything was “ok.”

  (Tr. p. 19). Moody Gadsden sent Kevin Singleton outside to check Investigator Nelson’s car. (Tr.

  p. 8). Lynett Gadsden was told by Moody Gadsden to check Investigator Nelson for wires or bugs.

  (Tr. p. 8). Investigator Nelson walked over to Lynett Gadsden and showed her that she had no wires

  on her. (Tr. p. 8). Kevin Singleton came back inside the house. (Tr. p. 8). Investigator Nelson then

  gave Moody Gadsden the $100.00 and he and Kevin Singleton went to the back bedroom. (Tr. p. 8).

   Kevin Singleton told Investigator Nelson and the confidential informant to follow him outside. (Tr.

  p. 8).   Kevin Singleton then gave Investigator Nelson crack cocaine and told her that she was

  “straight” and she could come back. (Tr. p. 8). After the deal was completed, Moody Gadsden came

  out of the house and told Investigator Nelson that she was straight and could come back again, but

  come back alone. (Tr. p. 9).

           Investigator Nelson then met with other investigators. (Tr. p. 9). When she returned to her

  office, she immediately identified Lynett Gadsden by her driver’s licence photograph which

  Investigatory Nelson obtained herself. (Tr. p. 9, 23).        Lynett Gadsden’s driver’s license was

  associated with the address where the drug transaction occurred. (Tr. p. 10). Investigator Nelson had

  no problem identifying Lynett Gadsden from her driver’s license photograph. (Tr. p. 10).

           Prior to December 19, 2006, Investigator Nelson had no knowledge of Kevin Singleton and

  the confidential informant also did not know Kevin Singleton. (Tr. p. 10, 33). Investigator Nelson only

  knew Kevin Singleton by the name “Cowboy.” (Tr. p. 10). She learned the name “Cowboy” from


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  different individuals on the street, and she believes that she learned this information from December

  19, 2006, the date of the buy, to January 19, 2007, the date of arrest. (Tr. p. 25). She described him

  to other investigators, but was unable to determine his name. (Tr. p. 10). Lynett Gadsden and Kevin

  Singleton were arrested on January 19, 2007, during the execution of a search warrant. (Tr. p. 34).

  On the date that the search warrant was executed, Investigator Nelson arrived at the scene after Kevin

  Singleton was secured and identified Kevin Singleton as the individual who was present at the buy and

  who had been carrying a gun. (Tr. p. 26, 34) Investigator Nelson viewed a booking photograph of

  Kevin Nelson, and confirmed that the man in the photograph was the person that participated in the

  illegal drug transaction of December 19, 2006. (Tr. p. 10). The other person in the house on the night

  of the drug transaction has not been identified. (Tr. p. 27).



          II. Analysis

          Lynett Gadsden asserts that having her identified by a single driver’s license photograph was

  unduly suggestive and should be suppressed. Kevin Singleton asserts that having him identified by

  viewing a booking photograph was unduly suggestive and should be suppressed. Further, the

  Defendants assert that any in-court identification which is the product of the out-of-court identification

  procedure using a single photograph is also unduly suggestive. The Government argues that the

  identification procedure was routine and not unduly suggestive. A two step analysis is used to

  determine if an out-of court identification is admissible. U.S. v. Diaz, 248 F.3d 1065, 1102 (11th Cir.

  2001). First, the court must determine whether the original identification procedure was “unduly

  suggestive.” Id. If the court finds that the original identification was unduly suggestive, then the court

  must consider the totality of the circumstances, and whether the identification was reliable based upon


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  the circumstances presented. Id., (citing Neil v. Biggers, 409 U.S. 188, 199 (1972), and Dobbs v.

  Kemp, 790 F.2d 1499, 1506 (11th Cir. 1986)). The Court must consider the following factors to

  determine if the identification was reliable: “(1) opportunity to view; (2) degree of attention; (3)

  accuracy of the description; (4) level of certainty; and (5) length of time between the crime and the

  identification.” U.S. v. Diaz, 248 F.3d at 1102, (citing Neil v. Biggers, 409 U.S. at 199). Although

  not dispositive of the issue of suggestiveness, showing only one photograph can be determined to be

  unduly suggestive in certain circumstances, and the Eleventh Circuit has found such undue

  suggestiveness when only a single photograph was shown3. See, Marsden v. Moore, 847 F.2d 1536,

  1545-46 (11th Cir. 1988), and United States v. Cueto, 611 F.2d 1056, 1063 (5th Cir. 1980).

         In a similar case, an undercover officer participated in three hand-to-hand drug transactions

  with a defendant and identified the defendant by being shown a single photograph. United States v.

  Carter, 2005 WL 3556050, *1 (M.D. Fla. 2005). The Court determined that the showing of a single

  photograph was unduly suggestive, however, looking at the totality of the circumstances, the

  identification was reliable. Id. The Court reasoned that the officer was personally involved in three

  illegal drug transactions with the defendant, was in close proximity to the defendant, and identified the

  defendant on the date of his arrest. Id. The photograph was shown to confirm the identity of the

  person known to the officer as “Tim.” Id. The officer’s description of the defendant was consistent

  with the person arrested, and the officer was certain of her identification of the defendant. Id.




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             The facts in these cases, however, are easily distinguishable from the instant case.

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         A. Lynett Gadsden

         To determine the name of Lynett Gadsden, Investigator Nelson returned to her office, and using

  the address where the drug buy took place, she looked at the driver’s license photograph of Lynett

  Gadsden and identified her as the person that participated in the drug transaction. Investigator Nelson

  admitted that she anticipated that the woman at the residence would be Lynett Gadsden based upon

  the records she obtained as to who was residing at the residence where the drug buy occurred.

  Investigator Nelson only used the photograph to determine the name of the individual at the residence,

  but she relied on her own personal observations of this person to identify Lynett Gadsden. The Court

  does not find that the one photograph that Investigator Nelson saw which identified the individual at

  the drug transaction to be Lynett Gadsden was unduly suggestive.

         Alternatively, the Court will consider that the showing of only one photograph to Investigator

  Nelson was unduly suggestive, and will proceed to consider the totality of the circumstances to

  determine if the identification was reliable. Investigator Nelson participated in the drug transaction.

  She and Lynett Gadsden had brief conversations. Investigator Nelson had to show Lynett Gadsden

  that she was not wired. Investigator Nelson had ample opportunity to observe Lynett Gadsden during

  the drug transaction. In addition, she immediately returned to her office, located the driver’s license

  photograph of Lynett Gadsden, and confirmed that the photograph was the same person that was at

  the residence during the drug transaction. Further, Investigator Nelson was certain that the photograph

  matched the person. See, United States v. Carter, 2005 WL 3556050 (M.D. Fla. 2005). The Court

  determines that based upon the totality of the circumstances, the identification of Lynett Gadsden by

  Investigator Nelson was reliable.




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         B. Kevin Singleton

         On the date of his arrest, Investigator Nelson identified Kevin Singleton in-person after his

  arrest, and also identified him by viewing a booking photograph. Showing Investigator Nelson the

  booking photograph could be construed as being unduly suggestive, therefore, the Court will proceed

  to consider the totality of the circumstances to determine if the identification of Kevin Singleton was

  reliable. As stated above, Investigator Nelson was involved personally in the drug transaction. She

  viewed Kevin Singleton when she entered the Gadsdens’ residence. She payed particular attention to

  him due to her seeing that he had a firearm tucked into his waistband. She also had brief conversations

  with him during the time she was in the residence. He was the individual who handed her the crack

  cocaine. She had many opportunities to view him, and to pay close attention to him due to his carrying

  a firearm. When Investigator Nelson testified, she was certain that Kevin Singleton was the man who

  was involved in the drug transaction. It was a month between the date of the buy and the date

  Investigator Nelson identified Kevin Singleton by viewing him in person and by the booking

  photograph, however, she was certain that he was the man who sold her crack cocaine. See, United

  States v. Carter, 2005 WL 3556050 (M.D. Fla. 2005). The Court determines that based upon the

  totality of the circumstances, the identification of Kevin Singleton by Investigator Nelson was reliable.




         III. Conclusion

         The Court concludes that based upon the totality of the circumstances, the identification of

  Lynett Gadsden and Kevin Singleton by Investigator Nelson was reliable. Therefore, it is respectfully




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  recommended that the Motion to Suppress Identification (Doc. 33) by Lynett Gadsden, and the

  Motion to Suppress by Kevin Singleton be denied.



          Failure to file written objections to the proposed findings and recommendations contained in

  this report within ten (10) days from the date of its filing shall bar an aggrieved party from attacking

  the factual findings on appeal.

          Respectfully recommended in Chambers in Ft. Myers, Florida this 10th              day of April,

  2007.




  Copies: All Parties of Record




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